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         EXHIBIT D
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            PLAINTIFF JOE ANDREW SALAZAR’S UPDATED EXHIBIT LIST

         Pursuant to Federal Rule of Civil Procedure 26(a)(3) and the Court’s Eighth Amended

 Docket Control Order (Dkt. 212), Plaintiff Joe Andrew Salazar (“Salazar”) hereby submits the

 attached list of exhibits that Salazar expects to offer at trial, or may offer if the need arises.

         This Exhibit List does not identify all exhibits that Salazar may use with the examination

 of any witnesses, called live or by deposition at trial, and Salazar hereby reserves the right to offer

 and/or use any exhibit to cross-examine and/or impeach any witnesses at trial, regardless of

 whether that exhibit is disclosed on this Exhibit List. Salazar further reserves the right to offer

 and/or use any exhibit identified on Defendant HTC Corporation’s (“HTC”) exhibit list or offered

 by HTC at trial. Additionally, Salazar reserves the right to amend and/or supplement this Exhibit

 List to add or delete exhibits as allowed by the Court and law, including to add rebuttal exhibits as

 contemplated by the Court’s Eighth Amended Docket Control Order (Dkt. 212), in rebuttal to

 HTC’s case, arguments or evidence, and/or for purposes of authenticating evidence. Salazar notes

 that his identification of any exhibit listed herein is not an admission that such exhibit would be

 admissible into evidence if proffered by HTC and Salazar reserves the right to withdraw or choose

 not to offer any exhibit identified herein, in whole or in part.

         At this time, Salazar identifies the following exhibits that he expects to be offered into

 evidence at trial, or that may it may offer into evidence at trial if the need arises:



                                        [continued on next page]




                                                    1
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                                  PLAINTIFF JOE ANDREW SALAZAR’S UPDATED TRIAL EXHIBIT LIST

PX NO.         HTC’S OBJECTIONS                                    EXHIBIT DESCRIPTION                                 BEGINNING     ENDING BATES     CONF     CAT
                                                                                                                      BATES NUMBER     NUMBER
   1.                                     U.S. Patent No. 5,802,467                                                  SALAZAR 496     SALAZAR 521               A

   2.                FRCP 26              The prosecution history of the application that resulted in the ‘467       SALAZAR 1       SALAZAR 559               B
                                          Patent

   3.    403, DUP (#2); FRCP 26           Notice of Allowability re the patent application for the ‘467 (February    SALAZAR 287     SALAZAR 292               A
                                          17, 1998) (part of the prosecution history of the ‘467 patent)

   4.    403, DUP (#2); FRCP 26           Election/Restriction re application for the ‘467 Patent (April 27, 1997)   SALAZAR 293     SALAZAR 295               A
                                          (part of the application of the ‘467 Patent)

   5.                                     Contract between Joe Andrew Salazar and Luis Molero Castro                 SALAZAR 596     SALAZAR 598        C      A

   6.    401/402, 403, 801/802, 901       Schematic Diagrams                                                         SALAZAR 845     SALAZAR 847        C      A

   7.    401/402, 403, 801/802, 901       Bill of Materials                                                          SALAZAR 848     SALAZAR 851        C      A

   8.                                     Asset Assignment and Debt Satisfaction Agreement between Innovative        SALAZAR 559                               A
                                          Intelcom Industries and Joe Andrew Salazar
   9.    401/402, 403, 801/802, 901,                                                                                 SALAZAR 578     SALAZAR 616        C      B
         901/1006/FRCP 26 (improper       Miscellaneous information relating to work done relating to the
         compilation, exhibit contains    invention disclosed in the ‘467 Patent
         multiple individual documents)
   10.   401/402, 403, 801/802, 901,                                                                                 SALAZAR 617     SALAZAR 852        C      B
         DUP (#6, 7), 901/1006/FRCP 26
         (improper compilation, exhibit   Technical Information
         contains multiple individual
         documents)
   11.   401/402, 403, 801/802, 901,      Technical Files (zip file)                                                 SALAZAR 853                        C
         FRCP 26
   12.   403, subject to objections       HTC Corporation’s Responses to Salazar’s First Set of Interrogatories      NONE            NONE               C      A
                                          (No. 1-10) dated June 7, 2017

   13.   403, subject to objections       HTC Corporation’s Responses to Salazar’s Second Set of                     NONE            NONE               C      A
                                          Interrogatories (No. 11-23) dated November 2, 2017
                                                                                  2                                                      A = Expect to Offer
                                                                                                                                             B = May Offer
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14.   403, subject to objections     HTC Corporation’s First Amended/Supplemental Responses to               NONE        NONE              C      A
                                     Salazar’s First Set of Interrogatories (No. 1-10) dated November 27,
                                     2017

15.   403, subject to objections     HTC Corporation’s Amended/Supplemental Responses to Salazar’s           NONE        NONE              C      A
                                     Second Set of Interrogatories (No. 11-23) dated November 27, 2017

16.   403, subject to objections     HTC Corporation’s Responses to Salazar’s Third Set of Interrogatories   NONE        NONE              C      A
                                     dated December 12, 2017

17.   403 (except columns A-J), SM   HTC Spreadsheet                                                         HTC036724                     C      A

18.                                  HTC Corporation’s Master Purchase Agreement with AT&T Mobility          HTC038818   HTC039139         C      A
                                     with all amendments

19.                                  HTC Corporation Master Purchase Agreement with Verizon Wireless         HTC039062   HTC039139         C      A
                                     with all amendments

20.                                  Distribution Agreement between HTC Corporation and HTC America,         HTC037528   HTC037547         C      A
                                     Inc.

21.   403, 703, 801/802, 805, 901    https://www.gsmarena.com/htc_one-5313.php (reference in Blok report)    NONE        NONE                     B

22.   703, 801/802, 805, 901         https://web.archive.org/web/20040607054730/http://www.my1remote.c       NONE        NONE                     B
                                     om:80/about.htm (reference in Blok report)

23.   703, 801/802, 805,901          https://web.archive.org/web/20040609020746/http://www.myoneremote       NONE        NONE                     B
                                     .com:80/ (reference in Blok report)

24.   703, 801/802, 805,901          https://web.archive.org/web/20031222153234/http://myoneremote.com:      NONE        NONE                     B
                                     80/ (reference in Blok report)

25.   703, 801/802, 901              https://www.bloomberg.com/research/stocks/private/snapshot.asp?privc    NONE        NONE                     B
                                     apId=8104897 (reference in Blok report)

26.   401/402, 403, SM               HTC, “2016 Annual Report,” April 17, 2017 (reference in Blok report)    NONE        NONE                     B



                                                                            3                                               A = Expect to Offer
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27.   703, 801/802, 805, 901     https://techcrunch.com/2007/11/05/breaking-google-announces-             NONE        NONE                     B
                                 android-and-open-handset-alliance/ (reference in Blok report)

28.   703, 801/802, 805, 901     https://www.androidauthority.com/history-htcs-android-design-689648/     NONE        NONE                     B
                                 (reference in Blok report)

29.   401/402, 403, SM           HTC, “2008 Annual Report,” (reference in Blok report)                    NONE        NONE                     B

30.   401/402, 403, SM           HTC, “2011 Annual Report,” May 10, 2012 (reference in Blok report)       NONE        NONE                     B

31.   401/402, 403, SM           HTC037706 – 867 (reference in Blok report)                               HTC037706   HTC037867         C      B

32.   703, 801/802, 805, 901     https://techcrunch.com/gallery/a-history-of-htc-in-12-devices/slide/8/   NONE        NONE                     B
                                 (reference in Blok report)

33.   703, 801/802, 805, 901     https://www.engadget.com/2013/02/19/htc-one-hands-on-design-and-         NONE        NONE                     B
                                 hardware/ (reference in Blok report)

34.   703, 801/802, 805, 901     https://www.slashgear.com/htcone-m8-priced-and-released-same-day-        NONE        NONE                     B
                                 in-store-25321873/ (reference in Blok report)

35.   703, 801/802, 805, 901     https://www.digitaltrends.com/mobile/htc-one-m9-news/ (reference in      NONE        NONE                     B
                                 Blok report)

36.   703, 801/802, 805, 901     http://www.techradar.com/reviews/phones/mobile-phones/htc-one-m7-        NONE        NONE                     B
                                 1131862/review (reference in Blok report)

37.   703, 801/802, 805, 901     https://www.cnet.com/how-to/how-to-use-the-htc-one-to-control-your-      NONE        NONE                     B
                                 tv/ (reference in Blok and Griffin reports)

38.   703, 801/802, 805, 901     https://www.addictivetips.com/android/remotely-control-any-ir-device-    NONE        NONE                     B
                                 tv-ac-with-htc-one/ (reference in Blok report)

39.   401/402, 403, SM           HTC037868 – 8011 (reference in Blok report)                              HTC037868   HTC038011         C      B

40.   703, 801/802, 805, 901     https://www.laptopmag.com/reviews/smartphones/htc-one-m8                 NONE        NONE                     B
                                 (reference in Blok report)



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41.   703, 801/802, 805, 901     https://www.theverge.com/2014/8/19/6031237/htc-one-m8-for-            NONE   NONE                     B
                                 windows-verizon-price-announcement (reference in Blok report)

42.   703, 801/802, 805, 901     https://www.cnet.com/products/htc-one-m9-review/ (reference in Blok   NONE   NONE                     B
                                 report)

43.   703, 801/802, 805, 901     https://www.forbes.com/sites/jaymcgregor/2015/03/23/htcone-m9-        NONE   NONE                     B
                                 review-release-date-price-news/#31a2b4e81d7e (reference in Blok
                                 report)

44.   703, 801/802, 805, 901     https://www.androidauthority.com/htc-one-m9-review-596044/            NONE   NONE                     B
                                 (reference in Blok report)

45.   801/802, 805               http://blog.htc.com/2015/04/sense-tv-going-away-need-know/            NONE   NONE                     B
                                 (reference in Blok report)

46.   703, 801/802, 805, 901     https://www.androidheadlines.com/2015/04/acloser-look-peel-smart-     NONE   NONE                     B
                                 remote-on-the-htc-one-m9.html (reference in Blok report)

47.   703, 801/802, 805, 901     http://searchmobilecomputing.techtarget.com/definition/smartphone     NONE   NONE                     B
                                 (reference in Blok report)

48.   703, 801/802, 805, 901     http://www.businessinsider.com/worlds-first-smartphone-simon-         NONE   NONE                     B
                                 launched-before-iphone-2015-6 (reference in Blok report)

49.   703, 801/802, 805, 901     http://pocketnow.com/2014/07/28/the-evolution-of-the-smartphone       NONE   NONE                     B
                                 (reference in Blok report)

50.   703, 801/802, 805, 901     https://www.cnbc.com/2017/06/29/everyiphone-released-in-order.html    NONE   NONE                     B
                                 (reference in Blok report)

51.   703, 801/802, 805, 901     https://web.archive.org/web/20070628160438/http://www.msnbc.msn.c     NONE   NONE                     B
                                 om/id/19444948/site/newsweek/ (reference in Blok report)

52.   703, 801/802, 805, 901     “The Rise of Smartphones,” William Blair & Company, December 9,       NONE   NONE                     B
                                 2008 (reference in Blok report)

53.   703, 801/802, 805, 901                                                                           NONE   NONE                     B
                                 https://www.cnet.com/news/apple-iphone-steve-jobs-10-ways-

                                                                      5                                          A = Expect to Offer
                                                                                                                     B = May Offer
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                                 everything-changed/ (reference in Blok report)

54.   703, 801/802, 805, 901     https://www.imore.com/iphone-3g (reference in Blok report)                NONE   NONE                     B

55.   703, 801/802, 805, 901     http://appleinsider.com/articles/08/12/02/iphone_single_handedly_drivi    NONE   NONE                     B
                                 ng_smartphone_growth.html (reference in Blok report)

56.   703, 801/802, 805, 901     http://www.businessinsider.com/worldwide-smartphone-market-share-         NONE   NONE                     B
                                 by-unit-sales-2010-1 (reference in Blok report)

57.   703, 801/802, 805, 901     https://www.digitaltrends.com/android/history-of-samsungs-galaxy-         NONE   NONE                     B
                                 phones-and-tablets/ (reference in Blok report)

58.   703, 801/802, 805, 901     https://www.canalys.com/newsroom/apple-takes-lead-us-smart-phone-         NONE   NONE                     B
                                 market-26-share (reference in Blok report)

59.   703, 801/802, 805, 901     https://www.computerworld.com/article/2513047/smartphones/android-        NONE   NONE                     B
                                 drives-big-smartphone-growth-in-2010--idc-says.html (reference in
                                 Blok report)

60.   703, 801/802, 805, 901     https://www.statista.com/statistics/266136/global-market-share-held-by-   NONE   NONE                     B
                                 smartphone-operating-systems/ (reference in Blok report)

61.   703, 801/802, 805, 901     https://www.statista.com/statistics/201183/forecast-of-smartphone-        NONE   NONE                     B
                                 penetration-in-the-us/ (reference in Blok report)

62.   703, 801/802, 805, 901     http://www.commscope.com/Blog/Smartphones-Are-Shifting-                   NONE   NONE                     B
                                 Expectations/ (reference in Blok report)

63.   703, 801/802, 805, 901     http://www.techradar.com/news/the-10-best-features-on-todays-top-         NONE   NONE                     B
                                 smartphones (reference in Blok report)

64.   703, 801/802, 805, 901     https://www.theverge.com/2017/9/12/16291244/new-iphone-x-photos-          NONE   NONE                     B
                                 video-hands-on (reference in Blok report)

65.   703, 801/802, 805, 901     http://www.geomarketing.com/us-mobile-usage-in-2017-stats-you-            NONE   NONE                     B
                                 need-to-know (reference in Blok report)



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66.   703, 801/802, 805, 901     https://www.websitemagazine.com/blog/the-rising-expectations-of-         NONE   NONE                     B
                                 mobile (reference in Blok report)

67.   703, 801/802, 805, 901     “Meeting the expectations of the mobile customer” IBM Software           NONE   NONE                     B
                                 Industry Solutions (reference in Blok report)

68.   703, 801/802, 805, 901     https://www.wired.com/2016/02/lg-g5-galaxy-s7-mwc-smartphones/           NONE   NONE                     B
                                 (reference in Blok report)

69.   703, 801/802, 805, 901     https://www.wired.com/2014/10/samsungs-endgame-looks-bleak-              NONE   NONE                     B
                                 phones-dont-matter-anymore/ (reference in Blok report)

70.   703, 801/802, 805, 901     https://www.techinasia.com/talk/smartphone-companies-compete-            NONE   NONE                     B
                                 hardware (reference in Blok report)

71.   703, 801/802, 805, 901     http://www.knowyourmobile.com/htc/htc-one/19552/best-features-htc-       NONE   NONE                     B
                                 one (reference in Blok report)

72.   703, 801/802, 805, 901     https://www.theverge.com/2013/4/24/4262074/is-this-the-year-of-the-ir-   NONE   NONE                     B
                                 blaster (reference in Blok report)

73.   703, 801/802, 805, 901     https://www.cnet.com/news/hulk-strong-screens-ir-blasters-nfc-           NONE   NONE                     B
                                 everything-your-future-phone-smartphonesunlocked/ (reference in Blok
                                 report)

74.   703, 801/802, 805, 901     https://electronics.howstuffworks.com/remote-control1.htm (reference     NONE   NONE                     B
                                 in Blok report)

75.   703, 801/802, 805, 901     https://os.mbed.com/users/4180_1/notebook/ir-andrf-remote-controls/      NONE   NONE                     B
                                 (reference in Blok report)

76.   703, 801/802, 805, 901     https://www.cbsnews.com/news/welcome-to-tvs-second-golden-age/           NONE   NONE                     B
                                 (reference in Blok report)

77.   703, 801/802, 805, 901     http://www.nielsen.com/us/en/insights/news/2009/1149-million-us-         NONE   NONE                     B
                                 television-homes-estimated-for-2009-2010-season.html (reference in
                                 Blok report)



                                                                      7                                             A = Expect to Offer
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78.   703, 801/802, 805, 901           http://www.nielsen.com/us/en/insights/news/2014/nielsen-estimates-       NONE        NONE                     B
                                       116-3-million-tv-homes-inthe-us.html (reference in Blok report)

79.   703, 801/802, 805, 901           Statista, “Number of TV Households in the United States from Season      NONE        NONE                     B
                                       2000-2001 to Season 2017-2018 (in
                                       millions),” 2017 (reference in Blok report)

80.   703, 801/802, 805, 901           https://www.fiercecable.com/broadcasting/average-number-tvs-u-s-         NONE        NONE                     B
                                       homes-declining-government-study-says (reference in Blok report)

81.   703, 801/802, 805, 901           https://www.eia.gov/todayinenergy/detail.php?id=30132 (reference in      NONE        NONE                     B
                                       Blok report)

82.   703, 801/802, 805, 901           "TV & Video in the United States," Datamonitor, May 2013 (reference      NONE        NONE                     B
                                       in Blok report)

83.   703, 801/802, 805, 901           https://familylivingtoday.com/best-home-theater-systems/ (reference in   NONE        NONE                     B
                                       Blok report)

84.   703, 801/802, 805, 901           https://www.lifewire.com/what-is-home-theater-1846801/ (reference in     NONE        NONE                     B
                                       Blok report)

85.   703, 801/802, 805, 901           https://www.energystar.gov/products/electronics/set_top_boxes_cable_b    NONE        NONE                     B
                                       oxes (reference in Blok report)

86.   703, 801/802, 805, 901           https://www.timewarnercable.com/en/support/faqs/faqs-                    NONE        NONE                     B
                                       tv/digitalcon/what-is-the-difference-between.html (reference in Blok
                                       report)

87.   703, 801/802, 805, 901           https://blog.byjasco.com/the-benefits-of-using-a-universal-remote        NONE        NONE                     B
                                       (reference in Blok report)

88.   703, 801/802, 805, 901           http://www.ebay.com/gds/The-Benefits-of-a-One-For-All-Remote-            NONE        NONE                     B
                                       Control-/10000000177318179/g.html (reference in Blok report)

89.   703, 801/802, 805, 901           http://invisioncommunity.co.uk/2016/01/13/benefits-one-universal-        NONE        NONE                     B
                                       remote-control/ (reference in Blok report)

90.   DUP (#17), 403 (except columns   HTC036724 (reference in Blok report)                                     HTC036724                     C      B
      A-J), SM
                                                                              8                                                A = Expect to Offer
                                                                                                                                   B = May Offer
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91.   703, 801/802, 901          Edward F. Sherry and David J. Teece, Royalties, Evolving Patent        NONE   NONE                     B
                                 Rights, and the Value of Innovation. Institute
                                 of Management, Innovation and Organization, Haas School of Business,
                                 University of California, May 2003 (reference in Blok report)

92.                              http://getpronto.com/en (reference in Blok report)                     NONE   NONE                     B

93.   703, 801/802, 805, 901     http://www.audioxpress.com/news/Pronto-and-Peel-Turn-iPhone-into-a-    NONE   NONE                     B
                                 Smart-Universal-Remote-for-Home-Entertainment-Systems (reference
                                 in Blok report)

94.   703, 801/802, 805, 901     https://9to5mac.com/2014/12/15/philips-pronto/ (reference in Blok      NONE   NONE                     B
                                 report)

95.   703, 801/802, 805, 901     https://web.archive.org/web/20150317151800/http://www.bestbuy.com/     NONE   NONE                     B
                                 site/pronto-smart-
                                 remoteblack/3479096.p?id=1219582883211&skuId=3479096
                                 (reference in Blok report)

96.   703, 801/802, 805, 901     https://shop-us.getpronto.com/ (reference in Blok report)              NONE   NONE                     B

97.   703, 801/802, 805, 901     https://www.amazon.com/l/13588384011?pageId=TO146RZ58011BH             NONE   NONE                     B
                                 &slashargs= (reference in Blok report)

98.   703, 801/802, 805, 901     http://www.businessinsider.com/amazon-deals-prime-day-                 NONE   NONE                     B
                                 camelcamelcamel-fakespot-2017-7/#-3 (reference in Blok report)

99.   703, 801/802, 805, 901     https://camelcamelcamel.com/Pronto-Universal-Control-Compatible-       NONE   NONE                     B
                                 Android/product/B00Y2SIYP4?context=search (reference in Blok
                                 report)

100. 703, 801/802, 901           https://www.logitech.com/en-us/product/harmony-hub (reference in       NONE   NONE                     B
                                 Blok report)

101. 703, 801/802, 805, 901      https://support.myharmony.com/en-us/adding-a-device-thats-not-found-   NONE   NONE                     B
                                 in-the-harmony-database (reference in Blok report)

102. 703, 801/802, 805, 901      https://www.amazon.com/Logitech-915-000238-Harmony-Home-               NONE   NONE                     B
                                 Hub/dp/B00N3RFC4Q/ref=sr_1_3?ie=UTF8&qid=1513792132&sr=8-
                                 3&keywords=harmony+hub+remote (reference in Blok report)
                                                                    9                                             A = Expect to Offer
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103. 703, 801/802, 805, 901      https://www.bestbuy.com/site/logitech-harmony-home-                     NONE          NONE                     B
                                 hubblack/1483019.p?skuId=1483019 (reference in Blok report)

104. 703, 801/802, 805, 901      https://www.amazon.com/Logitech-915-000230-Harmony-                     NONE          NONE                     B
                                 350/dp/B00J7KM5X4 (reference in Blok report)

105. 703, 801/802, 805, 901      https://www.bloomberg.com/gadfly/articles/2016-08-22/apple-and-         NONE          NONE                     B
                                 samsung-still-dominate-where-it-mattersprofits (reference in Blok
                                 report)

106. 703, 801/802, 805, 901      https://www.cnet.com/news/agony-and-htc-how-an-underdog-phone-          NONE          NONE                     B
                                 maker-aims-to-reinvent-itself/ (reference in Blok report)

107. 703, 801/802, 805, 901      https://www.mymobilenation.com/_media/images/support_library/HTC        NONE          NONE                     B
                                 %20One%20Key%20Features.pdf (reference in Blok report)

108.                             HTC029830 – 0052 (reference in Blok report)                             HTC029830     HTC030052         C      B

109.                             HTC031829 – 885 (reference in Blok report)                              HTC031829     HTC031885         C      B

110. 703, 801/802, 805, 901      https://www.mensxp.com/technology/phones/5703-how-to-turn-your-         NONE          NONE                     B
                                 phone-into-a-universal-remote-a-mensxpspecial.Html (reference in Blok
                                 report)

111. 703, 801/802, 805, 901      https://www.cnet.com/news/turning-your-smartphone-into-a-smarter-tv-    NONE          NONE                     B
                                 remote/ (reference in Blok report)

112.                             HTC032036 – 069 (reference in Blok report)                              HTC032036     HTC032069         C      B

113.                             HTC034005 – 081 (reference in Blok report)                              HTC034005     HTC034081         C      B

114.                             HTC029807 – 829 (reference in Blok report)                              HTC029807     HTC029829         C      B

115.                             WITHDRAWN

116. 401/402, 403                Salazar - 564 – 573 (reference in Blok report)                          SALAZAR 564   SALAZAR 573              B

117.                             U.S. Patent No. 5,138,649                                                                                      B
                                                                        10                                                A = Expect to Offer
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118. 703, 801/802, 901             https://businesssearch.sos.ca.gov/CBS/Detail (reference in Blok report)   NONE   NONE                     B

119. 703, 801/802, 805, 901        https://www.bestbuy.com/site/logitech-harmony-smart-                      NONE   NONE                     B
                                   controlblack/8574049.p?skuId=8574049&ref=212&loc=1&ksid=b65c0
                                   e02-b419-45f4-a0b1-
                                   f052b6f53812&ksprof_id=16&ksaffcode=pg252604&ksdevice=c&lsft=
                                   ref:212,loc:2&gclid=CjwKCAiA1O3RBRBHEiwAq5fD_IZpvM5ZtO-
                                   8ED-
                                   30rZQ7KCqHOt5R8v221vaL9M_FO0X4RYKfafinRoCy10QAvD_Bw
                                   E (reference in Blok report)

120. 703, 801/802, 805, 901        http://www.electroncomponents.com/IR-5mm-infrared-transmitter-            NONE   NONE                     B
                                   receiver (reference in Blok report)

121. 703, 801/802, 805, 901        https://probots.co.in/index.php?main_page=product_info&products_id=       NONE   NONE                     B
                                   114 (reference in Blok report)

122. 403, 801/802, 805             Expert Report of Justin R. Blok dated December 29, 2017                                            C      B

123. 403, 801/802, 805, 901        Curriculum Vitae of Justin R. Blok (Exhibit 1 to Blok Report)                                             A

124. 403, 801/802, 805, 901        Documents Reviewed by Justin R. Blok (Exhibit 2 to Blok report)                                           A

125. 403, 801/802, 901, 1006, SM   Reasonable Royalty Summary (Exhibit 3 to Blok report)                                              C      A

126. 403, 801/802, 901, 1006       HTC Accused Products: Units Sold (Exhibit 4 to Blok report)                                        C      A

127. 403, 801/802, 901, 1006, SM   HTC Accused Products: Revenues (Exhibit 5 to Blok report)                                          C      A

128. 403, 801/802, 901, 1006, SM   HTC Accused Products: Cost of Goods Sold (Exhibit 6 to Blok report)                                C      A

129. 403, 801/802, 901, 1006, SM   HTC Accused Products: Average Sales Price (Exhibit 7 to Blok report)                               C      A

130. 403, 801/802, 901, 1006, SM   HTC Accused Products: Gross Margin (Exhibit 8 to Blok report)                                      C      A

131. 1002                          http://www.htc.com/us/smartphones/htc-one-m7/ (reference in Griffin       NONE   NONE                     B
                                   report)


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  132. 703, 801/802, 901, 1002            http://www.windowscentral.com/htc-one-m8 (reference in Griffin           NONE        NONE                     B
                                          report)

  133. 106 (include HTC027773)            HTC027774 (reference in Griffin report)                                  HTC027773   HTC027774                B

134. a   901/1006/FRCP 26 (improper                                                                                HTC024869                            B
         compilation, exhibit contains    HTC024869; HTC026869;HTC027441; HTC027753
         multiple individual documents)

134.b    106 (include entire document:                                                                             HTC026864   HTC026904                B
         HTC026864-26904);
         901/1006/FRCP 26 (improper       HTC024869; HTC026869;HTC027441; HTC027753
         compilation, exhibit contains
         multiple individual documents)

134.c    106 (include HTC027453);                                                                                  HTC027441                            B
         901/1006/FRCP 26 (improper                                                                                HTC027453
                                          HTC024869; HTC026869;HTC027441; HTC027753
         compilation, exhibit contains
         multiple individual documents)

134.d    106 (include entire document:                                                                             HTC027752   HTC027758                B
         HTC027752-27758);
         901/1006/FRCP 26 (improper       HTC024869; HTC026869;HTC027441; HTC027753
         compilation, exhibit contains
         multiple individual documents)

  135. 403, 703, 801/802, 805, 901        https://en.wikipedia.org/wiki/Bluetooth (reference in Griffin report)    NONE        NONE                     B

  136. 403, 703, 801/802, 805, 901        https://en.wikipedia.org/wiki/List_of_Bluetooth_profiles (reference in   NONE        NONE                     B
                                          Griffin report)

  137. 403, 703, 801/802, 805, 901        http://www.radio-electronics.com/info/wireless/bluetooth/profiles.php    NONE        NONE                     B
                                          (reference in Griffin report)

  138. 106, 801/802, 901                  https://www.bluetooth.com/specifications/bluetooth-core-specification    NONE        NONE                     B
                                          (reference in Griffin report)

  139. 106, 801/802, 901                                                                                           NONE        NONE                     B
                                          https://www.bluetooth.com/specifications/profiles-overview (reference

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                                          in Griffin report)

  140. 106, 801/802, 901                  https://www.bluetooth.com/specifications/gatt (reference in Griffin       NONE        NONE                     B
                                          report)

  141. 703, 801/802, 901                  https://developer.android.com/guide/topics/connectivity/bluetooth.html    NONE        NONE                     B
                                          (reference in Griffin report)

  142. 703, 801/802, 901                  https://developer.android.com/guide/topics/connectivity/bluetooth-        NONE        NONE                     B
                                          le.html (reference in Griffin report)

143. a   DUP (#134.d); 106 (include                                                                                 HTC027752   HTC027758                B
         entire document: HTC027752-
         27758); 901/1006/FRCP 26         HTC027756; HTC027773 : HTC027774; HTC029084 (references in
         (improper compilation, exhibit   Griffin report)
         contains multiple individual
         documents)

143.b    DUP (#133) (include                                                                                        HTC027773   HTC027774                B
         HTC027774); 106;
                                          HTC027756; HTC027773 : HTC027774; HTC029084 (references in
         901/1006/FRCP 26 (improper
                                          Griffin report)
         compilation, exhibit contains
         multiple individual documents)

143.c    106 (include entire document:                                                                              HTC029080   HTC029087                B
         HTC029080-29087);
                                          HTC027756; HTC027773 : HTC027774; HTC029084 (references in
         901/1006/FRCP 26 (improper
                                          Griffin report)
         compilation, exhibit contains
         multiple individual documents)

  144. 703, 801/802, 805, 901             http://www.radio-electronics.com/info/wireless/wi-fi/ieee-802-11g.php     NONE        NONE                     B
                                          (reference in Griffin report)

  145. 403, 703, 801/802, 805, 901        https://en.wikipedia.org/wiki/Near-field_communication (reference in      NONE        NONE                     B
                                          Griffin report)

  146. 703, 801/802, 805                  http://blog.htc.com/2013/04/introducing-sense-tv/ (reference in Griffin   NONE        NONE                     B
                                          report)


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  147. 403, 703, 801/802, 805             http://blog.htc.com/2013/06/htc-one-ir-blaster-api-from-color-tiger/   NONE          NONE                      B
                                          (reference in Griffin report)

  148. 801/802, 901, 1002                 Https://www.att.com/support_static_files/manuals/HTC_One.pdf           NONE          NONE                      B
                                          (reference in Griffin report)

149. a   901/1006/ Protective Order       HTC-SC00160 : HTC-SC00293;                                             HTC-SC00160   HTC-SC00293        C      B
         (improper compilation, exhibit   HTC-SC00115 : HTC-SC00123;
         contains multiple individual     HTC-SC0069 : HTC-SC0078;
         documents)                       HTC-SC00302 : HTC-SC00314
                                          (references in Griffin report)

149.b    901/1006/ Protective Order       HTC-SC00160 : HTC-SC00293;                                             HTC-SC00115   HTC-SC00123        C      B
         (improper compilation, exhibit   HTC-SC00115 : HTC-SC00123;
         contains multiple individual     HTC-SC0069 : HTC-SC0078;
         documents)                       HTC-SC00302 : HTC-SC00314
                                          (references in Griffin report)

149.c    901/1006/ Protective Order       HTC-SC00160 : HTC-SC00293;                                             HTC-SC0069    HTC-SC0078         C      B
         (improper compilation, exhibit   HTC-SC00115 : HTC-SC00123;
         contains multiple individual     HTC-SC0069 : HTC-SC0078;
         documents)                       HTC-SC00302 : HTC-SC00314
                                          (references in Griffin report)

149.d    901/1006/ Protective Order       HTC-SC00160 : HTC-SC00293;                                             HTC-SC0032    HTC-SC00314        C      B
         (improper compilation, exhibit   HTC-SC00115 : HTC-SC00123;
         contains multiple individual     HTC-SC0069 : HTC-SC0078;
         documents)                       HTC-SC00302 : HTC-SC00314
                                          (references in Griffin report)

150. a   901/1006/ Protective Order                                                                              HTC-SC005     HTC-SC0063         C      B
                                          HTC-SC005 : HTC-SC0066;
         (improper compilation, exhibit
                                          HTC-SC001 : HTC-SC006;
         contains multiple individual
                                          HTC-SC00160 : HTC-SC00293
         documents)
                                          (references in Griffin report)
150.b    901/1006/ Protective Order       HTC-SC005 : HTC-SC0066;                                                HTC-SC0064    HTC-SC0066         C      B
         (improper compilation, exhibit   HTC-SC001 : HTC-SC006;
         contains multiple individual     HTC-SC00160 : HTC-SC00293
         documents)                       (references in Griffin report)

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150.c   901/1006/ Protective Order        HTC-SC005 : HTC-SC0066;                                              HTC-SC001     HTC-SC004          C      B
        (improper compilation, exhibit    HTC-SC001 : HTC-SC006;
        contains multiple individual      HTC-SC00160 : HTC-SC00293
        documents); DUP (#150a)           (references in Griffin report)

150.d   901/1006/ Protective Order        HTC-SC005 : HTC-SC0066;                                              HTC-SC00160   HTC-SC00293        C      B
        (improper compilation, exhibit    HTC-SC001 : HTC-SC006;
        contains multiple individual      HTC-SC00160 : HTC-SC00293
        documents); DUP (#149a)           (references in Griffin report)

  151. DUP (#149a, 149b, 149c, 149d);                                                                          HTC-SC0067    HTC-SC0068         C      B
       901/1006/ Protective Order                                                                              HTC-SC0069    HTC-SC0078
       (improper compilation, exhibit                                                                          HTC-SC0079    HTC-SC0095
       contains multiple individual                                                                            HTC-SC0096    HTC-SC00109
       documents)                                                                                              HTC-SC00110   HTC-SC00114
                                                                                                               HTC-SC00115   HTC-SC00123
                                          HTC-SC0067 : HTC-SC00314 (references in Griffin report)
                                                                                                               HTC-SC00124   HTC-SC00127
                                                                                                               HTC-SC00128   HTC-SC00144
                                                                                                               HTC-SC00144   HTC-SC00159
                                                                                                               HTC-SC00160   HTC-SC00293
                                                                                                               HTC-SC00294   HTC-SC00298
                                                                                                               HTC-SC00299   HTC-SC00301
                                                                                                               HTC-SC00302   HTC-SC00314
  152. 401/402, 403, 703, 801/802, 901,   _RE file:///C:/Ver%202.7.823329/Doxygen/html/index.html (reference   NONE          NONE                      B
       1002                               in Griffin report)

  153. 703, 801/802, 901                  http://www.htc.com/us/support/htc-one/howto/598049.html (reference   NONE          NONE                      B
                                          in Griffin report)

  154. 703, 801/802, 805, 901, 1002       _RE                                                                  NONE          NONE                      B
                                          file:///C:/Ver%202.7.859666/Doxygen/html/namespacecom_1_1htc_1_
                                          1lib3_1_1medialinksharedmodule_1_1htcdlnainterface.html (reference
                                          in Griffin report)

  155. 703, 801/802, 901                  http://www.htc.com/us/support/htc-one-m8/howto/465023.html           NONE          NONE                      B
                                          (reference in Griffin report)

  156. 403, 703, 801/802, 805, 901                                                                             NONE          NONE                      B
                                          https://en.wikipedia.org/wiki/Digital_Living_Network_Alliance

                                                                               15                                                A = Expect to Offer
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                                          (reference in Griffin report)

  157. 403, 703, 801/802, 805, 901        https://wikileaks.org/sony/docs/07/Documents/@Deals/DirecTV/4k/RV       NONE          NONE                      B
                                          U/DLNA%20Guidelines%20March%202014%20-
                                          %20Part%205%20Device%20Profiles.pdf (reference in Griffin report)

  158. 106, 703, 801/802, 901             https://spirespark.com/dlna/guidelines/ (reference in Griffin report)   NONE          NONE                      B

159. a   703, 801/802, 901, 1002,         http://cdn.billiger.com/dynimg/82z1ImlrhgSX90aFpmTDmHt4H9rycHj          NONE          NONE                      B
         901/1006/FRCP 26 (improper       eBa9LTdXG2DAPXrYY8Gy9d4eEhubQCN0j7-
         compilation, exhibit contains    7J9kkX6j7oE8jYFJykrc/Bedienungsanleitung.pdf ,
         multiple individual documents)   https://www.youtube.com/watch?v=Z5EuTE_Qi4Q
                                          (reference in Griffin report)

159.b    703, 801/802, 805, 901, 1002,    http://cdn.billiger.com/dynimg/82z1ImlrhgSX90aFpmTDmHt4H9rycHj          NONE          NONE                      B
         901/1006/FRCP 26 (improper       eBa9LTdXG2DAPXrYY8Gy9d4eEhubQCN0j7-
         compilation, exhibit contains    7J9kkX6j7oE8jYFJykrc/Bedienungsanleitung.pdf ,
         multiple individual documents)   https://www.youtube.com/watch?v=Z5EuTE_Qi4Q
                                          (reference in Griffin report)

  160. 703, 801/802, 901                  http://dl4.htc.com/web_materials/Manual/HTC_Media_Link_HD/HTC_          NONE          NONE                      B
                                          MediaLinkHD_ReadMeFirst.pdf?_ga=2.196855788.1189088617.15108
                                          02323-238579444.1506917980 (reference in Griffin report)

161. a   901/1006/FRCP 26 (improper                                                                               HTC004821     HTC004876                 B
         compilation, exhibit contains    HTC004821 : HTC004932 (references in Griffin report)
         multiple individual documents)

161.b    901/1006/FRCP 26 (improper                                                                               HTC004877     HTC004890                 B
         compilation, exhibit contains    HTC004821 : HTC004932 (references in Griffin report)
         multiple individual documents)

161.c    901/1006/FRCP 26 (improper                                                                               HTC004891     HTC004932                 B
         compilation, exhibit contains    HTC004821 : HTC004932 (references in Griffin report)
         multiple individual documents)

162. a   DUP (#149); 901/1006/FRCP 26     HTC-SC00128:HTC-SC00143; HTC-SC00144: HTC-SC00159                       HTC-SC00128   HTC-SC00143        C      B
         (improper compilation, exhibit   (references in Griffin report)
         contains multiple individual

                                                                                  16                                                A = Expect to Offer
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         documents)


162.b    DUP (#149); 901/1006/FRCP 26     HTC-SC00128:HTC-SC00143; HTC-SC00144: HTC-SC00159                        HTC-SC00144   HTC-SC00159        C      B
         (improper compilation, exhibit   (references in Griffin report)
         contains multiple individual
         documents)

  163.                                    https://www.htcdev.com/devcenter/opensense-sdk/htc-ir-api (reference     NONE          NONE                      B
                                          in Griffin report)

  164. 703, 801/802, 805                  http://blog.htc.com/2013/02/calling-all-ir-apps/ (reference in Griffin   NONE          NONE                      B
                                          report)

  165.                                    https://www.htcdev.com/devcenter/opensense-sdk/htc-ir-api/htc-ir-api-    NONE          NONE                      B
                                          and-android-4.4/ (reference in Griffin report)

  166.                                    https://www.htcdev.com/devcenter/opensense-sdk/legacy-apis/htc-ir-       NONE          NONE                      B
                                          api/ (reference in Griffin report)

  167. 703, 801/802, 901, 1002            HtcIrData.html from the HTC sdk/api file: addon-                         NONE          NONE                      B
                                          htc_opensense_ir_api.zip (reference in Griffin report)

  168. 703, 801/802, 901,1002             HtcIrInterface.html from the HTC sdk/api file: addon-                    NONE          NONE                      B
                                          htc_opensense_ir_api.zip (reference in Griffin report)

  169. 403, 703, 801/802, 901             _RE demo.zip (reference in Griffin report)                               NONE          NONE                      B

  170. 401/402, 403, 703, 801/802, 805,                                                                            NONE          NONE                      B
                                          https://en.wikipedia.org/wiki/Shorthand (reference in Griffin report)
       901

  171. 703, 801/802, 901                  https://developer.android.com/guide/topics/ui/index.html (reference in   NONE          NONE                      B
                                          Griffin report)

  172. 401/402, 403, 703, 801/802, 901,   _RE file:///C:/Ver%202.7.823329/Doxygen/html/index.html (reference       NONE          NONE                      B
       1002, DUP (#152)                   in Griffin report)

  173. 401/402, 403, 703, 801/802, 901,   _RE file:///C:/Ver%202.7.859666/Doxygen/html/index.html (reference       NONE          NONE                      B

                                                                                  17                                                 A = Expect to Offer
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         1002                             in Griffin report)

  174. 703, 801/802, 805, 901, 1002       http://www.windowscentral.com/htc-sense-tv-app-htc-one-updated-     NONE        NONE                     B
                                          remote-learning-function (reference in Griffin report)

  175. 106 (include entire document                                                                           HTC016840   HTC016853                B
                                          HTC016841 (reference in Griffin report)
       HTC016840-16853)

  176.                                    HTC011331 : HTC011358 (references in Griffin report)                HTC011331   HTC011358                B

  177. 703, 801/802, 805, 901, 1002       _RE                                                                 NONE        NONE                     B
                                          file:///C:/Ver%202.7.859666/Doxygen/html/classcom_1_1htc_1_1lib3_
                                          1_1circontrol_1_1_c_i_r_control.html#ad475b225ee5d96e5a48ba58a91
                                          0f62ef (reference in Griffin report)

  178. 703, 801/802, 805, 901, 1002       _RE                                                                 NONE        NONE                     B
                                          file:///C:/Ver%202.7.859666/Doxygen/html/classcom_1_1htc_1_1lib3_
                                          1_1circontrol_1_1_c_i_r_control.html#a91b7471a466c3f8a2df8a97375
                                          0af1e2 (reference in Griffin report)

  179. 703, 801/802, 805, 901, 1002       _RE                                                                 NONE        NONE                     B
                                          file:///C:/Ver%202.7.859666/Doxygen/html/namespacecom_1_1htc_1_
                                          1lib3_1_1circontrol.html (reference in Griffin report)

180. a   DUP (#134.d);                    HTC027753:HTC027754; HTC029081 (references in Griffin report)       HTC027752   HTC027758                B
         106 (include entire document
         HTC027752-27758);
         901/1006/FRCP 26 (improper
         compilation, exhibit contains
         multiple individual documents)

180.b    DUP (#143.d);                    HTC027753:HTC027754; HTC029081 (references in Griffin report)       HTC029080   HTC029087                B
         106 (include entire document
         HTC029080-29087);
         901/1006/FRCP 26 (improper
         compilation, exhibit contains
         multiple individual documents)



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181.                                    http://www.htc.com/us/accessories/htc-media-link-hd/ (reference in      NONE        NONE                     B
                                        Griffin report)

182. 403, 703, 801/802, 805, 901        https://en.wikipedia.org/wiki/List_of_Bluetooth_profiles#Audio.2FVide   NONE        NONE                     B
                                        o_Remote_Control_Profile_.28AVRCP.29 (reference in Griffin report)

183. 801/802, 901                       https://www.bluetooth.org/docman/handlers/DownloadDoc.ashx?doc_id       NONE        NONE                     B
                                        =309020 (reference in Griffin report)

184. 403, 703, 801/802, 805, 901        https://en.wikipedia.org/wiki/Nyquist%E2%80%93Shannon_sampling_t        NONE        NONE                     B
                                        heorem (reference in Griffin report)

185. 703, 801/802, 901, 1002            https://developer.android.com/reference/android/net/wifi/WifiManager.   NONE        NONE                     B
                                        html (reference in Griffin report)

186. 106 (include entire document                                                                               HTC020813   HTC020872                B
                                        HTC020813, HTC020867, HTC020816 (references in Griffin report)
     HTC020813-20872)

187. DUP (#186);                                                                                                HTC020813   HTC020872                B
     106 (include entire document       HTC020816 (reference in Griffin report)
     HTC020813-20872)

188. 901/1006/FRCP 26 (improper                                                                                                                      B
     compilation, exhibit contains      HTC037593, HTC037548 : HTC037549 (references in Griffin report)
     multiple individual documents).

189. 401/402, 403, 703, 801/802, 901,                                                                           NONE        NONE                     B
     Dkt No. 148 (striking Mini+),      https://www.thegeeksclub.com/htc-mini-accessory-launched-htc-
     Dkt. No. 153 (dismissing claim     android-phones-specs-features/ (reference in Griffin report)
     10)

190. 401/402, 403, 801/802, 901, Dkt                                                                            NONE        NONE                     B
     No. 148 (striking Mini+), Dkt.     M7_snapshot_settings_2.JPG (reference in Griffin report)
     No. 153 (dismissing claim 10)

191. 401/402, 403, 801/802, 901, Dkt                                                                            NONE        NONE                     B
     No. 148 (striking Mini+), Dkt.     M7_snapshot_settings_3.JPG (reference in Griffin report)
     No. 153 (dismissing claim 10)


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192. 401/402, 403, 703, 801/802, 901,                                                                         NONE        NONE                     B
     Dkt No. 148 (striking Mini+),      http://www.igyaan.in/62169/htc-mini-launched/ (reference in Griffin
     Dkt. No. 153 (dismissing claim     report)
     10)

193. 401/402, 403, 703, 801/802, 901,                                                                         NONE        NONE                     B
                                        http://www.pocket-lint.com/news/123249-hands-on-htc-mini-is-a-
     Dkt No. 148 (striking Mini+),
                                        bluetooth-handset-and-remote-for-your-larger-phone (reference in
     Dkt. No. 153 (dismissing claim
                                        Griffin report)
     10)

194. 401/402, 403, 703, 801/802, 901,                                                                         NONE        NONE                     B
     Dkt No. 148 (striking Mini+),
                                        HTC_Mini_plus_User_Guide.pdf (reference in Griffin report)
     Dkt. No. 153 (dismissing claim
     10)

195. 401/402, 403, 703, 801/802, 901,                                                                         NONE        NONE                     B
                                        http://blog.clove.co.uk/wp-
     Dkt No. 148 (striking Mini+),
                                        content/uploads/2013/10/HTC_Mini_Plus_User_Guide.pdf (reference
     Dkt. No. 153 (dismissing claim
                                        in Griffin report)
     10)

196. 401/402, 403, 703, 801/802, 901,                                                                         NONE        NONE                     B
                                        http://www.theunwired.net/?item=quickview-htc-mini-bluetooth-
     Dkt No. 148 (striking Mini+),
                                        telephone-receiver-and-remote-control-for-htc-one-and-desire-
     Dkt. No. 153 (dismissing claim
                                        smartphones (reference in Griffin report)
     10)

197. 703, 801/802, 901                  http://www.htc.com/us/support/htc-one-m8/howto/464883.html            NONE        NONE                     B
                                        (reference in Griffin report)

198.                                    HTC026799 : HTC026839 (references in Griffin report)                  HTC026799   HTC026839                B

199. 106 (include entire document                                                                             HTC026864   HTC026904                B
                                        HTC026885 (reference in Griffin report)
     HTC026864-26904)

200. 106 (include entire document                                                                             HTC027759   HTC027821                B
                                        HTC027766 (reference in Griffin report)
     HTC027759-27821)

201. 703, 801/802, 901                  http://www.htc.com/us/support/htc-one-m8/howto/464920.html            NONE        NONE                     B
                                        (reference in Griffin report)


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202. 703, 801/802, 901, 1002            https://support.t-mobile.com/docs/DOC-10357 (reference in Griffin        NONE   NONE                     B
                                        report)

203. 703, 801/802, 901, 1002, NP        http://www.htc.com/us/support/htc-one/howto/365683.html (reference       NONE   NONE                     B
     (document does not exist)          in Griffin report)

204. 703, 801/802, 901                  https://developer.qualcomm.com/download/sd600/wcd9311-audio-             NONE   NONE                     B
                                        codec-device-specification.pdf (reference in Griffin report)

205. 401/402, 403, 703, 801/802, 901,                                                                            NONE   NONE                     B
     Dkt No. 148 (striking Mini+),      http://www.htc.com/in/accessories/htc-mini-plus/ (reference in Griffin
     Dkt. No. 153 (dismissing claim     report)
     10)

206. 401/402, 403, 703, 801/802, 901,                                                                            NONE   NONE                     B
     Dkt No. 148 (striking Mini+),      https://www.youtube.com/watch?v=wcMV0VE55bo (reference in
     Dkt. No. 153 (dismissing claim     Griffin report)
     10)

207. 401/402, 403, 703, 801/802, 901,                                                                            NONE   NONE                     B
     Dkt No. 148 (striking Mini+),      https://www.youtube.com/watch?v=Jvvif49IRHg (reference in Griffin
     Dkt. No. 153 (dismissing claim     report)
     10)

208. 401/402, 403, 703, 801/802, 901,                                                                            NONE   NONE                     B
     Dkt No. 148 (striking Mini+),      https://www.youtube.com/watch?v=c_3E40ozJGM (reference in
     Dkt. No. 153 (dismissing claim     Griffin report)
     10)

209. 401/402, 403, 703, 801/802, 901,                                                                            NONE   NONE                     B
     Dkt No. 148 (striking Mini+),      https://www.slashgear.com/htc-one-software-update-earns-mini-
     Dkt. No. 153 (dismissing claim     support-and-a-google-keyboard-21294467/ (reference in Griffin report)
     10)

210. NP; not a document or exhibit                                                                               NONE   NONE                     B
                                        CSR 57E687CG (reference in Griffin report)
     (component name)

211. 401/402, 403, 703, 801/802, 901,                                                                            NONE   NONE                     B
                                        http://www.htc.com/sea/support/htc-mini-plus/news/ (reference in
     Dkt No. 148 (striking Mini+),

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      Dkt. No. 153 (dismissing claim    Griffin report)
      10)

212. 401/402, 403, 703, 801/802, 901,   http://dl4.htc.com/managed-                                              NONE   NONE                     B
     Dkt No. 148 (striking Mini+),      assets/support/software/HTC%20Mini/4.13.997.1.dfu?_ga=2.26686599
     Dkt. No. 153 (dismissing claim     8.1568063475.1514305282-238579444.1506917980 (reference in
     10)                                Griffin report)

213. 401/402, 403, 703, 801/802, 805,   _RE                                                                      NONE   NONE                     B
     901, Dkt No. 148 (striking         file:///C:/Ver%202.7.859666/Doxygen/html/classcom_1_1htc_1_1tiber2
     Mini+), Dkt. No. 153               _1_1tools_1_1_alert_dialog_factory.html#a298cfd21a56d864af4be0751
     (dismissing claim 10)              cb14661c (reference in Griffin report)

214. 401/402, 403, 703, 801/802, 901,                                                                            NONE   NONE                     B
     Dkt No. 148 (striking Mini+),      _RE file:///C:/Ver%202.7.859666/Searches/Mini+.htm (reference in
     Dkt. No. 153 (dismissing claim     Griffin report)
     10)

215. 703, 801/802, 805, 901, 1002       http://www.androidbeat.com/2014/02/heres-can-measure-heart-rate-         NONE   NONE                     B
                                        galaxy-s4-s3-htc-one-lg-g2-phones (reference in Griffin report)

216. 703, 801/802, 805, 901             https://www.cnet.com/news/htc-joins-forces-with-under-armour-for-        NONE   NONE                     B
                                        high-tech-fitness/ (reference in Griffin report)

217. 703, 801/802, 805, 901             https://www.youtube.com/watch?v=rxTH6cwdngw (reference in                NONE   NONE                     B
                                        Griffin report)

218. 703, 801/802, 805, 901             https://techcrunch.com/2015/03/01/htc-grip/ (reference in Griffin        NONE   NONE                     B
                                        report)

219. DUP (#164); 703, 801/802, 805      http://blog.htc.com/2013/02/calling-all-ir-apps/ (reference in Griffin   NONE   NONE                     B
                                        report)

220. 403, 801/802, 805                  Expert Report of Roy A. Griffin III, December 28, 2017                                            C      B

221. 403, 801/802, 805, 901             Curriculum Vitae of Roy A. Griffin III (Exhibit B to Griffin report)                                     A

222. 403, 801/802, 805                  Claim Charts (Exhibit C to Griffin report)                                                        C      A


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223. 403, 801/802, 805, 901             Curriculum Vitae of Dr. Oded Gottesman (Exhibit B to Gottesman                                           A
                                        report)

224. 403, 801/802, 805                  Rebuttal Expert Report of Dr. Oded Gottesman, January 17, 2018                                           B

225. 403, 801/802, 805, 901             Documents Considered by Dr. Oded Gottesman (Exhibit A to                                                 B
                                        Gottesman report)

226. 701, 801/802, 805, 901             Articles related to IR Blaster/Android Forum (Exhibit C to Gottesman                                     A
                                        report)

227. FRCP 32; ND                        Deposition of Ho Chia Chu                                                                                A

228. FRCP 32                            Deposition of Hisu Fen Lai                                                                               A

229. FRCP 32; ND                        Deposition of Tung Shan Wei                                                                              A

230. FRCP 32; ND                        Deposition of Sivasubramanian Muthukumarasamy                                                            A

231. FRCP 32; ND                        Deposition of Robert L. Myers                                                                            A

232. 401/402, 403, 901, FRCP 26         Salazar family photographs (Nos. 1-24)                                                                   A

233. DUP (#48), 703, 801/802, 805,      http://www.businessinsider.com/worlds-first-smartphone- simon-           NONE   NONE                     A
     901                                launched-before-iphone-2015-6 (Fn. 1 to Dr. Gottesman’s expert report)

234. 401/402, 703, 801/802, 805, 901    http://fortune.com/fortune500/texas-instruments/ (Fn. 9 to Dr.           NONE   NONE                     A
                                        Gottesman’s expert report)

235. DUP (#234), 401/402, 703,          http://fortune.com/fortune500/texas-instruments/ (Fn. 10 to Dr.          NONE   NONE                     A
     801/802, 805, 901                  Gottesman’s expert report)

236. 403, 701, 703, 801/802, 805, 901   Does the HTC 10 have an IR Blaster? - Android Forums at                  NONE   NONE                     A
                                        AndroidCentral.com (Exhibit C to Dr. Gottesman’s expert report)

237. 701, 703, 801/802, 805, 901        Back from the dead: why do 2013's best smartphones have IR blasters? -   NONE   NONE                     A
                                        The Verge (Exhibit C to Dr. Gottesman’s expert report)

238. 401/402, 403, 701, 703, 801/802,   I think I want the IR blaster back on Samsung devices – SamMobile        NONE   NONE                     A
                                                                                23                                         A = Expect to Offer
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       805, 901                       (Exhibit C to Dr. Gottesman’s expert report)

239. DUP (#1)                         U.S. Patent 8,502,467                                                                                      A

240. DUP (#2), FRCP 26                Prosecution History of U.S. Patent 8,502,467                                                               A

241. DUP (#223), 403, 801/802, 805,   Curriculum Vitae of Dr. Oded Gottesman (Exhibit B to Gottesman            NONE   NONE                      A
     901                              report)

242. DUP (#223), 403, 801/802, 805    Rebuttal Expert Report of Dr. Oded Gottesman (January 17, 2018)           NONE   NONE                      B

243.                                  Expert Report of Andrew Wolfe, Ph.D. Regarding the Validity of U.S.       NONE   NONE                      B
                                      Patent 8,502,467 (January 17, 2018) and all documents and exhibits
                                      references therein

244. DUP (#220-222), 403, 801/802,    Initial Expert Report of Roy A. Griffin III (December 28, 2017) and all   NONE   NONE               C      B
     805, 901                         documents and exhibits references therein

245. DUP (#122-130), 403, 801/802,    Expert Report of Justin R. Blok (December 29, 2017) and all documents     NONE   NONE               C      B
     805, 901, 1006, SM               and exhibits references therein


                                                          HTC’S OBJECTION KEY

                          ABBREVIATION                                               DEFINITION
                               DUP               Duplicative
                                NP               Not produced
                                SM               Subject to motion (Daubert and/or motion in limine)
                                ND               Testimony has not been designated
                             FRCP 26             Proposed exhibit not separately identified either by BATES number (or
                                                 similar identifying designation) or as a separate, stand alone document
                             FRCP 32             Deposition not admissible as exhibit

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